             Case 23-11069-CTG       Doc 812-2     Filed 10/11/23      Page 1 of 1




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

IN RE:                                         )   Chapter 11
                                               )
YELLOW CORPORATION , et. al.,                  )   Case No. 23-11069 (CTG)
                                               )
                       Debtors.                )   (Jointly Administered)
                                               )    Re Docket No.:_________


                             ORDER GRANTING IHAB SULAIMAN
                            RELIEF FROM THE AUTOMATIC STAY

         BE IT REMEMBERED on the               day of                        , 2023, the Court

reviewed the motion for relief from automatic stay filed herein (the “Motion”) by movant Kavir

Moonilal-Sigh (the “Movant”) seeking to terminate the automatic stay pursuant to 11 U.S.C. §

362 as it applies to the Movant’s Lawsuit (the “Movant’s Lawsuit”). Having reviewed the

Motion and the argument of counsel, the Court is of the opinion that said Motion should be

granted. It is therefore:

         ORDERED, ADJUDGED AND DECREED that the automatic stay in the above-

captioned bankruptcy case is terminated in the Movant’s Lawsuit effective upon entry of this

Order. Movant may settle the Movant’s Lawsuit, liquidate the Movant’s Lawsuite to judgment

and may execute, levy, and collect upon such settlement or judgment.
